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                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UNITED STATES OF AMERICA
                                                  Case No.: 8:21-cr-348-SDM-SPF
  v.

  JEREMY BROWN


       UNITED STATES’ NOTICE OF FILING OF CERTIFICATE OF PARDON

          The United States hereby files the attached Certificate of Pardon (the

  “Pardon”), which was issued by the Office of the Pardon Attorney on February 5,

  2025. As stated in the Pardon, on January 20, 2025, President Donald J. Trump

  pardoned the Defendant Jeremy Brown by “Presidential Proclamation.” The Pardon

  provides that “[t]he pardon applies only to convictions for offenses related to events

  that occurred at or near the United States Capitol on January 6, 2021.” Based on

  consultation with Department of Justice leadership, it is the position of the United
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  States that the offenses of conviction in this case are intended to be covered by this

  Pardon.

                                           Respectfully submitted,

                                           SARA C. SWEENEY
                                           Acting United States Attorney

                                    By:    /s/ Daniel J. Marcet
                                           Daniel J. Marcet
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                                           Assistant United States Attorney
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